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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA

 ATS TREE SERVICES, LLC,

                        Plaintiff,

        v.

 FEDERAL TRADE COMMISSION; LINA M.
 KHAN, in her official capacity as Chair of the
 Federal Trade Commission; and REBECCA                 Case No. 2:24-cv-01743-KBH
 KELLY SLAUGHTER, ALVARO BEDOYA,
 ANDREW N. FERGUSON, and MELISSA
 HOLYOAK, in their official capacities as
 Commissioners of the FTC,

                        Defendants.


                   BRIEF IN SUPPORT OF MOTION TO STAY EFFECTIVE DATE
                          AND FOR PRELIMINARY INJUNCTION

       On April 23, 2024, the Federal Trade Commission (“FTC”) took an unprecedented step in

its 110-year history and issued a rule banning non-compete agreements, an employment practice

that is otherwise regulated and legal in 46 states. Congress created the FTC to prevent “[u]nfair

methods of competition” by enabling the FTC to pursue individualized adjudications. But, with a

3–2 vote, the FTC has decided to unilaterally extend its statutory authority. The FTC now arrogates

Congress’ power to make law because it has finalized a rule that ignores express limitations on its

authority. It now claims power to write its own law disrupting the employment relationships of

one in five American workers. Irrespective of its goals, the FTC must operate exclusively within

the authority granted to it by Congress.

       Plaintiff ATS Tree Services, LLC (“ATS”), is a small tree care business that uses non-

compete agreements as a key component of its operational model to specially train and invest in

the professional development of its employees. The FTC’s unlawful and unconstitutional ban on


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non-compete agreements significantly disrupts this model, making ATS’s extensive training and

investment infeasible, and harming both ATS and its employees. ATS requests that the Court stay

the effective date of the FTC’s non-compete agreement ban pursuant to 5 U.S.C. § 705 and

preliminarily enjoin its enforcement while ATS’s claims are litigated. ATS also requests oral

argument on its motion.

       ATS satisfies all four factors necessary to obtain a stay and a preliminary injunction. ATS

is likely to succeed on the merits of its claims that the FTC does not have the statutory or

constitutional authority to ban non-compete agreements. 1 The FTC claims the authority to make

substantive rules for unfair methods of competition based on statutes that only empower it to

conduct adjudications and to make procedural rules for the same. And even if the FTC had such

substantive rulemaking authority, its vague statutory mandate to prevent “[u]nfair methods of

competition” cannot be construed as authority to issue per se bans on commonplace business

practices. Nor is this oblique language a “clear statement” from Congress that the FTC is permitted

to entirely displace an area of traditional state regulation and outlaw an employment practice of

economic and political significance. Moreover, a prohibition on “[u]nfair methods of competition”

provides no intelligible principle by which the FTC can promulgate substantive regulations and is,

therefore, an unconstitutional delegation of legislative power by Congress.

       ATS will be irreparably harmed unless the FTC’s ban on noncompete agreements is stayed

or preliminarily enjoined. Non-compete agreements make it feasible for ATS to make significant

investments in the professional development of its employees. But the ban eliminates the benefit

ATS receives from that agreement and allows its employees to leave immediately and transfer to



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 ATS moves for a stay and preliminary injunction on three of the four claims in its complaint,
Counts I, II, and IV. Compl. ¶¶ 101–27, 143–54. ATS maintains it is also likely to succeed on the
merits of its claim in Count III.
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a direct competitor the benefits of ATS’s training and investment. This makes ATS’s current model

unworkable, and both ATS and its employees worse off. As a result of the ban, ATS now must

restructure its employment agreements and operational model and incur other nonrecoverable

compliance costs over the next four months before the ban goes into effect.

       The equities and the public interest also favor ATS because it is never in the public interest

for the government to act unlawfully. Additionally, a short delay in the rule’s implementation

causes no harm to the government, which has waited, according to its own view, since the FTC

was established in 1914 to regulate non-compete agreements.

       Through its ban on non-compete agreements, the FTC has exceeded its statutory authority,

abrogated the laws of 46 states, reached far outside its remit as an antitrust legislator and called

into question the FTC’s constitutionality. And this ban is generating immediate and irreparable

harm for ATS. To avoid that irreparable harm, the effective date of the rule should be stayed, and

the FTC enjoined from enforcing it to maintain the status quo while ATS’s claims are litigated.

                                        BACKGROUND

  I.   The FTC’s Non-Compete Agreement Ban

       On April 23, 2024, the FTC issued a final rule banning non-compete agreements by a 3-2

vote. Press Release, Fed. Trade Comm’n, FTC Announces Rule Banning Noncompetes (Apr. 23,

2024), https://tinyurl.com/4u26b6se. It was published in the Federal Register on May 7, 2024.

Non-Compete Clause Rule, 89 Fed. Reg. 38,342 (May 7, 2024) (the “Final Rule”). Non-compete

agreements are a common feature of employment arrangements in which an employee or other

worker agrees, if they leave their position, not to work for a direct competitor. Non-compete

agreements are generally limited in time and geographical scope. Harlan M. Blake, Employee

Agreements Not to Compete, 73 Harv. L. Rev. 625, 626 (1960). The agreements help employers

protect proprietary information, client relationships, and training and investment in employees. Id.

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at 626–27; see also 88 Fed. Reg. 3482, 3493 (Jan. 19, 2023) (Notice of proposed rulemaking).

They also help the employee by incentivizing employers to invest in the training and professional

development of their employees, as the FTC acknowledges. See 88 Fed. Reg. at 3493. Non-

compete agreements can be particularly valuable to small businesses, like ATS, who could easily

have their employees or other workers taken by larger or more established competitors. See Compl.

¶¶ 91–94; Declaration of D. Servin ¶ 25.

       Non-compete agreements have been in use for centuries—they were permissible in English

common law since the early 1700s and that approach carried over into American common law.

See, e.g., Mitchel v. Reynolds, 24 Eng. Rep. 347 (1711) (QB) (non-compete agreement between

lessor of a bakery and the lessee); Pierce v. Fuller, 8 Mass. 223 (1811). Approximately one in five

American workers are currently in a non-compete agreement. 88 Fed. Reg. at 3485. And they are

legal and regulated in 46 states. Only California, North Dakota, Oklahoma, and Minnesota have

banned them—and only then with legislation expressly addressing noncompete policy. See Beck

Reed Riden LLP, Employee Noncompetes: A State-by-State Survey (Feb. 19, 2024),

https://tinyurl.com/2tnx2yz3.

       The Final Rule makes it unlawful to enter into, enforce, or “represent that [a] worker is

subject to” a non-compete agreement with any “worker.” 89 Fed. Reg. at 38,502–03. Non-compete

agreements are defined broadly to include any “term or condition of employment” that “prohibits

a worker from, penalizes a worker for, or functions to prevent a worker from” taking a new job or

operating a business after the conclusion of the worker’s current employment. Id. at 38,502.

Exempt from the rule are non-compete agreements between franchisors and franchisees, those

associated with the sale of a business, and the enforcement of existing non-compete agreements

with “senior executives.” Id. at 38,502–04. Employers must give notice by the effective date to



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any non-senior executive workers covered by non-compete agreements that the employer will no

longer enforce the agreement. Id. at 38,503–04. The Final Rule will become effective on

September 4, 2024. Id. at 38,505.

 II.   The Structure of FTC’s Authority

       The FTC asserts the authority to promulgate the Final Rule under sections 45 and 46(g) of

the Federal Trade Commission Act (“FTC Act”). 88 Fed. Reg. at 38,502. The FTC Act declares

that “[u]nfair methods of competition” and “unfair or deceptive acts or practices in or affecting

commerce” are “unlawful.” 15 U.S.C. § 45(a)(1). The statute “empowered” the FTC to “prevent”

such conduct through individualized adjudications. Id. § 45(a)(2) and (b). Upon identifying

potential unlawful conduct, the FTC can issue a complaint and initiate a hearing. Id. § 45(b). If the

FTC finds that unlawful conduct occurred, it issues a cease-and-desist order. Id. The recipient of

the order can seek review in a U.S. court of appeals. Id. § 45(c). Violations of a final order from

the commission incur a civil penalty for each violation that “may be recovered in a civil action

brought by the Attorney General.” Id. § 45(l). The statute does not define “[u]nfair methods of

competition.” See 15 U.S.C. § 44. Instead, it leaves that up to the individualized adjudications. See

id. § 45. The FTC also possesses statutory authority to create procedural rules for its adjudications,

investigations, and other authorized functions. 15 U.S.C. § 46(g).

       The FTC was initially understood to have authority to enforce the FTC Act exclusively

through adjudications. See, e.g., A.L.A. Schechter Poultry Corp. v. United States, 295 U.S. 495,

533 (1935). From the FTC’s creation in 1914 until 1962, it did not engage in any substantive

rulemaking. Thomas W. Merrill & Kathryn Tongue Watts, Agency Rules with the Force of Law:

The Original Convention, 116 Harv. L. Rev. 467, 551–52 (2002). Moreover, in the 1940s and

1950s, Congress affirmatively granted the FTC piecemeal substantive rulemaking authority over



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relatively minor issues such as product labeling. Thomas W. Merrill, Antitrust Rulemaking: The

FTC's Delegation Deficit, 75 Admin. L. Rev. 277, 301 (2023).

       In 1962, the FTC began inching into the realm of substantive rulemaking without any

further authorization from Congress through the adoption of Trade Regulation Rules (“TRR”) that

imposed “trivial” requirements such as the labeling of sleeping bag sizes. Merrill & Watts, supra

at 552 & n.443. In 1964, when the FTC attempted a substantive rulemaking for cigarette labeling,

it was overruled by Congress. Merrill, supra at 302. The FTC retreated to more trivial TRRs for

several years until it advanced yet again and issued a substantive rule requiring octane ratings to

be posted on gasoline pumps. Merrill & Watts, supra at 554–55; 36 Fed. Reg. 23,871, 23,871 (Dec.

16, 1971). The octane-rating rule was challenged in court and the D.C. Circuit held—contrary to

decades of common understanding and practice—that the FTC had substantive rulemaking

authority through Sections 45 and 46(g) to make rules that could be enforced through FTC

adjudications. Nat’l Petroleum Refiners Ass’n v. FTC, 482 F.2d 672, 678 (D.C. Cir. 1973).

       While National Petroleum Refiners was being litigated, Congress was considering whether

to grant the FTC substantive rulemaking authority. Merrill & Watts, supra at 555. In 1975, just a

year and half after the D.C. Circuit issued its opinion, Congress explicitly granted the FTC

substantive rulemaking authority for “unfair or deceptive acts or practices,” but not for unfair

methods of competition. 15 U.S.C. § 57a. Congress made Section 57a the exclusive means by

which rules for “unfair or deceptive acts or practices” are made. Id. § 57a(2). Congress also

declared that this new, exclusive rulemaking authority “shall not affect any authority of the

Commission to prescribe rules (including interpretive rules), and general statements of policy, with

respect to unfair methods of competition.” Id. Congress has never granted the FTC substantive

rulemaking authority for unfair methods of competition. See Merrill, supra at 315.



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III.   The Non-Compete Agreement Ban Irreparably Harms ATS

       ATS is a professional tree service business in Perkasie, PA. Servin Decl. ¶ 4. ATS provides

a variety of tree care services, including tree trimming and removal, tree preservation, emergency

responses to storm damage, and the preparation of tree management plans. Id. ¶ 5. The tree care

ATS engages in requires specialized skills that are developed in ATS’s employees through

extensive training and internal and third-party certifications to ensure that the trees are properly

cared for and that limbs or entire trees can be safely removed without unnecessary risk to ATS’s

crew or other people and property. Id. ¶ 6. ATS is known in its community for its tree care expertise,

and is regularly called upon by other tree care companies to assist with technically difficult tree

removals. Id. ¶ 7.

       ATS employs around a dozen people, including skilled tree climbers and an estimator, to

whom ATS is committed to help reach their full professional potential. Id. ¶¶ 8–9, 19. ATS’s

employees receive significant specialized training to ensure they have the skills to operate at ATS’s

high level of technical expertise and in accordance with ATS-specific methods and processes. Id.

¶ 11. ATS’s employee training includes the opportunity to apprentice for five different roles or

certifications. Id. ¶ 12. Each apprenticeship includes specialized training and the acquisition of any

necessary internal or third-party certifications—such as an arborist certification or commercial

driver’s license—at ATS’s expense. Id. ¶¶ 13, 17. For example, ATS trains employees to become

an experienced tree climber, which includes on-the-job climbing training in the use of the

specialized climbing devices and technical rigging for lowering tree limbs. Id. ¶¶ 14–15. As part

of the climbing training, ATS spends thousands of dollars to provide individual technical climbing

gear and further sacrifices productivity to ensure that the apprenticing employee develops the

necessary skills. Id. ¶ 15. Additionally, ATS considers all the employees it hires for tree care work



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to be potential crew leaders—the highest rank in the company among its skilled employees. Id.

¶ 16.

        Each ATS employee is also trusted with proprietary information about ATS’s business. Id.

¶ 18. In particular, ATS’s estimator maintains extensive proprietary knowledge of ATS’s pricing

structure, clients, and overall business strategy and also personally develops goodwill with ATS’s

clients. Id. ¶¶ 9–10.

        Because of the significant personal investment ATS makes in its employees and the

proprietary business information it shares with them, ATS requires its employees to sign a

reasonable non-compete agreement. Id. ¶ 20. In general, the agreement requires, or would only be

enforced to require, ATS employees not to engage in the same type of work they performed at ATS

at a competitor tree care service provider within the geographic area in which the employee worked

while at ATS for one year after leaving ATS. Id. ¶ 21. ATS considers the non-compete agreement

and ATS’s specialized training and investment in its employees to be a manifestation of a mutual

commitment between ATS and its employees. Id. ¶ 22. It is a critical component of ATS’s internal

operations and overall success in the tree care industry and a benefit to both ATS and its

employees. Id.

        The Final Rule will prohibit ATS from enforcing its non-compete agreements and using

non-compete agreements with any new employees it hires. Id. ¶ 23. Without the ability to enforce

its non-compete agreements, ATS faces the risk that its employees will leave and transfer the

benefit of ATS’s training and investment, as well as ATS’s confidential information, immediately

to a direct competitor. Id. ¶ 24. Going forward under the Final Rule, it will not be feasible for ATS

to provide the same level of training and investment if that investment can be lost at any time to a

direct competitor. Id. ¶ 26. The infeasibility of continuing with ATS’s current employee training



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and investment approach will also harm the company’s operational model and culture of mutual

commitment that ATS believes is a critical component of its success. Id. ¶ 27. With the Final Rule

becoming effective on September 4, 2024, 89 Fed. Reg. at 38,505, ATS must start taking steps to

change its business operations and comply with the Final Rule’s notice requirement, Servin Decl.

¶ 28. A stay of the Final Rule’s effective date and a preliminary injunction is necessary to protect

ATS from suffering these irreparable harms while the legality of the Final Rule is litigated.

                                       LEGAL STANDARD

        “To get a preliminary injunction, [ATS] must satisfy four factors: (1) [it] will likely succeed

on the merits, (2) [it] will likely suffer irreparable injury without an injunction, (3) the balance of

equities favors [it], and (4) an injunction serves the public interest.” Schrader v. Dist. Att’y of York

Cnty., 74 F.4th 120, 126 (3d Cir. 2023). “Because the government is the opposing party, the latter

two factors merge.” Id. (citing Nken v. Holder, 556 U.S. 418, 435 (2009)). The first two factors are

the “‘most critical.’” Reilly v. City of Harrisburg, 858 F.3d 173, 179 (3d Cir. 2017). Demonstrating

a likelihood of success on the merits “requires a showing significantly better than negligible but

not necessarily more likely than not.” Id. Any irreparable injury must be “more likely than not.”

Id. These same factors apply to whether the effective date of the Final Rule should be stayed

pursuant to 5 U.S.C. § 705. Colorado v. EPA, 989 F.3d 874, 883 (10th Cir. 2021).

                                            ARGUMENT

  I.    ATS Is Likely To Succeed on the Merits of Its Claims

        A. The FTC Does Not Have the Power To Make Substantive Rules for Unfair
           Methods of Competition

        Sections 45 and 46 of the FTC Act—on which the FTC relies for authority to promulgate

the Rule—do not permit substantive rulemaking for “[u]nfair methods of competition.” See 15

U.S.C. §§ 45 and 46(g); 88 Fed. Reg. at 38,502. The FTC was created to address antitrust issues


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through adjudications, see Schechter Poultry, 295 U.S. at 532–34, and was given the authority to

create procedural rules for those adjudications, 15 U.S.C. § 46(g). It was later granted substantive

rulemaking and enforcement authority for the other category of conduct it may regulate. 15 U.S.C.

§§ 45(m), 57a(a). Accordingly, the most “symmetrical and coherent” interpretation of the FTC’s

authority that allows its components to “fit” together in a “harmonious whole” is that it does not

have substantive rulemaking authority for unfair methods of competition. See FDA v. Brown &

Williamson Tobacco Corp., 529 U.S. 120, 133 (2000) (citations omitted).

           1. The Text of the FTC Act Does Not Authorize Substantive Rulemaking for
              Unfair Methods of Competition

       The FTC Act only allows the FTC to prevent “[u]nfair methods of competition” through

adjudications. 15 U.S.C. § 45. Section 45 declares “[u]nfair methods of competition” to be

“unlawful.” Id. § 45(a)(1). The statutory text is explicit that to address a possible unfair method of

competition “[the FTC] shall issue and serve ... a complaint stating its charges” and “a notice of a

hearing.” Id. § 45(b) (emphasis added). Any cease-and-desist order resulting from the hearing is

directed solely to the persons or entities that were the recipients of the complaint. Id. Nothing in

Section 45 authorizes the FTC to use substantive rulemakings to prevent “[u]nfair methods of

competition.” Id. § 45. Given this glaring omission in the statutory text, Congress cannot be

understood to have also granted substantive rulemaking authority to the FTC on unfair methods of

competition. See Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 468, 471 (2001) (no statutory

authority for EPA to consider costs of air quality standards when not included in statute).

       In fact, the FTC does not even have authority to enforce its cease-and-desist orders

regarding unfair methods of competition. Id. § 45(l). Such orders can only be enforced—and any

civil penalty imposed—through a civil suit brought by the Attorney General in an Article III court.

Id. The lack of FTC’s own enforcement authority for unfair methods of competition orders is


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consistent with and further indicative of its lack of substantive rulemaking authority for unfair

methods of competition. See Am. Trucking Ass'ns v. United States, 344 U.S. 298, 311 (1953)

(rulemaking authority substantive because it included enforcement authority). Moreover, Congress

affirmatively gave the FTC authority to enforce its own orders and rules regarding unfair or

deceptive acts or practices. 15 U.S.C. § 45(m).

       Section 46(g)’s authorization “to make rules and regulations for the purpose of carrying

out the provisions of this subchapter,” only grants the FTC rulemaking authority to make

procedural rules, not substantive rules for unfair methods of competition. See 15 U.S.C. § 46(g).

Section 46(g) is part of a statutory section that authorizes various procedural mechanisms through

which the FTC can carry out its duties, including authority to initiate investigations, to require

covered persons and entities to make reports to the FTC, and to enter into international cooperation

agreements for the exchange of information. Id. § 46. The rulemaking authority itself is in the

second half of a sentence that also authorizes the FTC to “classify corporations” “[f]rom time to

time.” Id. § 46(g). The authority to classify is of a completely different nature than substantive

rulemaking on the scale the FTC is attempting here. Moreover, there is no mechanism in the statute

by which the FTC can enforce the rules it makes through Section 46(g). See id. § 45(l) (authorizing

enforcement of “an order” through a civil action by the Attorney General). The lack of enforcement

authority is a significant indicator section 46(g) does not include the power to promulgate

substantive rules. See Am. Trucking Ass’ns, 344 U.S. at 311. 2

       Congress’s grant, in 1975, of substantive rulemaking authority for “unfair or deceptive acts

or practices” confirms that section 46(g) does not provide substantive rulemaking authority for



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  The major questions doctrine also requires that section 46(g) not be interpreted to allow
substantive rulemaking when considered in conjunction with the significance of the Final Rule.
See infra Part I.B.3.
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unfair methods of competition. See Magnuson-Moss Warranty—Federal Trade Commission

Improvement Act, Pub. L. No. 93-637, 88 Stat. 2183 (1975). As part of its acts or practices

rulemaking authority, the FTC must follow specific procedural requirements—including holding

an “informal hearing” with interested parties. 15 U.S.C. § 57a(b), (c). This specific grant of

substantive rulemaking authority stands in sharp contrast to section 46(g)’s oblique rulemaking

authorization. 15 U.S.C. § 46(g). Congress also enacted a judicial review scheme for section 57a

providing for petitions of review to U.S. courts of appeals, something that does not exist for rules

promulgated under section 46(g). 15 U.S.C. § 57a(e); id. § 45(c) (persons or entities “may obtain

a review of [a cease-and-desist] order” (emphasis added)). Moreover, section 46(g) was enacted

when the FTC was a purely adjudicative agency. See Schechter Poultry, 295 U.S. at 532–34. If the

FTC already had broad substantive rulemaking authority through section 46(g), Congress would

not have bothered to grant such authority again in 1975. It is even less likely that Congress enacted

this additional rulemaking authority simply to impose additional rulemaking procedures for unfair

or deceptive acts or practices while leaving the purported authority for competition rulemaking

through section 46(g) unfettered.

           2. The Supreme Court Recognized the FTC Does Not Have Legislative
              Rulemaking Authority for Unfair Methods of Competition

       For the first roughly half century of the FTC’s existence, neither Congress, the U.S.

Supreme Court, nor the FTC itself understood the FTC to have substantive rulemaking authority.

See Merrill and Watts, supra at 549–52; Schechter Poultry, 295 U.S. at 533. From 1914 until 1962,

the FTC did not engage in legislative rulemaking. Id. at 549–52. But during this same period,

Congress authorized the FTC to make legislative rules on specific issues, an unnecessary step if

the FTC already possessed that authority. Merrill, supra at 301.




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       Notably, in 1935, the Supreme Court characterized the FTC as an adjudicative body in its

seminal non-delegation case, Schechter Poultry, 295 U.S. at 532–33. In Schecter Poultry, the Court

held that the National Industrial Recovery Act’s (“NIRA”) authorization for the President to adopt

codes of “fair competition” was an unconstitutional delegation of legislative authority. Id. at 531,

541–42. The Court distinguished the FTC from the NIRA because the phrase “unfair methods of

competition” was “left to judicial determination [by the FTC] as controversies arise,” not

rulemaking. Id. at 532–34. So, not only did the Court characterize the FTC as exercising

exclusively adjudicative authority, this characterization was also a key component of the Court’s

holding. Id. Similarly, the Third Circuit described the FTC as “originally” “an investigatory body

which would judge and note violations.” N.J. Wood Finishing Co. v. Minn. Min. & Mfg. Co., 332

F.2d 346, 355 (3d Cir. 1964), aff’d, 381 U.S. 311 (1965)

           3. National Petroleum Refiners Was Wrongly Decided

       The Final Rule relies heavily on the D.C. Circuit’s decision in National Petroleum Refiners,

482 F.2d 672, to support its substantive rulemaking authority, but that decision has seen little

purchase. 89 Fed. Reg. at 38,350–51. 3 National Petroleum Refiners decided that the FTC had the

authority to promulgate substantive rules pursuant to Section 46(g). 482 F.2d at 678. But National

Petroleum Refiners is not the law in the Third Circuit, has never been addressed by the Supreme

Court, and should not be followed by this Court because it is demonstrably wrong.

       National Petroleum Refiners decided to “liberally [] construe” section 46(g)’s rulemaking

authorization. 482 F.2d at 678. The D.C. Circuit reasoned that because “the broad, undisputed

policies which clearly motivated the framers of the” FTC Act “would [] be furthered” through



3
 The Seventh Circuit accepted the reasoning of National Petroleum Refiners and that is the only
other case the Final Rule cites. United States v. JS & A Grp., Inc., 716 F.2d 451, 454 (7th Cir.
1983); 89 Fed. Reg. at 38,350–51.
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substantive rulemaking authority, section 46(g) should be interpreted to grant such authority. Id. at

686. This purpose-driven analysis ignores that “[a]dministrative agencies are creatures of statute”

that “possess only the authority that Congress has provided.” Nat’l Fed’n of Indep. Bus. v. Dep’t

of Lab., 595 U.S. 109, 117 (2022). Further, National Petroleum Refiners rests its holding on the

absence of “limiting language [in section 45(b)] suggesting that adjudication alone is the only

proper means of elaborating the statutory standard.” 482 F.2d at 675. But section 45(b)

affirmatively requires the FTC to proceed through a complaint and a hearing to prevent unfair

methods of competition 15 U.S.C. § 45(b). Given this requirement, Section 45’s silence as to

substantive rulemakings cannot be the basis for such authority, particularly after Congress granted

it solely for “unfair or deceptive acts or practices.” See Whitman, 531 U.S. at 468, 471.

       National Petroleum Refiners also generally misapplied the main cases on which it relied;

they did not generally address whether rulemaking authority was substantive or procedural. 482

F.2d at 678–81; see also Merrill and Watts, supra at 556. Nat’l Broad. Co. v. United States, 319

U.S. 190, 215–220 (1943), and Am. Trucking Ass’ns, 344 U.S. at 309–12, addressed the scope and

specificity of rulemaking authority as to certain activities. 4 United States v. Storer Broad. Co., 351

U.S. 192, 203 (1956), and Fed. Power Comm'n v. Texaco, Inc., 377 U.S. 33, 39–42 (1964),

addressed whether agencies could promulgate substantive rules that would serve as a threshold for

whether non-compliant regulated entities received a hearing. And Mourning v. Fam. Publications

Serv., Inc., 411 U.S. 356, 371–73 (1973), addressed whether or to what extent a grant of rulemaking



4
 In Am. Trucking Ass’ns, it was argued that one of the two grants of rulemaking authority at issue
“merely concerns agency procedures.” 344 U.S. at 311. But the Court rejected this argument
because the statute contained a “distinct reference in the section to enforcement.” Id.; Motor
Carrier Act, Pub. L. No. 74-255, § 204(d), 49 Stat. 543, 547 (1935) (permitting agency to order
compliance after notice and hearing with “any provision of this part, or with any requirement
established pursuant there to”). There is no such enforcement authority for unfair method of
competition rules the FTC promulgates pursuant to section 46(g).
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authority was limited by other statutory provisions. None of these cases engaged with whether the

rulemaking authority at issue was substantive or procedural in a manner that supported the

conclusion in National Petroleum Refiners. But that is the threshold question here.

       B. The FTC Act Does Not Authorize the FTC To Ban All Non-Compete Agreements
          as Unfair Methods of Competition

       Even if the FTC Act were construed as delegating substantive rulemaking authority for the

Commission to define “unfair methods of competition,” the Final Rule is unlawful because the

FTC cannot impose a sweeping rule that deems freely negotiated and reasonably tailored

noncompete agreements per se “unfair.” As Pennsylvania courts have long recognized,

noncompete agreements are fair—and therefore enforceable—so long as “reasonably limited in

duration and geographic” scope. See Hess v. Gebhard & Co. Inc., 808 A.2d 912, 917 (Pa. 2002).

And both the federalism canon and the major questions doctrine presume that Congress will speak

clearly if it wishes to authorize regulation to override state law on such a significant matter.

           1. Reasonable Non-Compete Agreements Are Fair

       The FTC cannot proclaim all noncompete agreements to be “unfair.” The Commission’s

authority to prohibit “unfair methods of competition” does not operate as a “bar [on] any business

practice found to have an adverse effect on competition.” E.I. du Pont de Nemours & Co. v. FTC,

729 F.2d 128, 136 (2d Cir. 1984). Such a test would unlawfully “permit arbitrary or undue

government interference with the reasonable freedom of action.” Id. at 137. But adopting an

arbitrary ban on an entire business practice is precisely what the FTC has done in the Final Rule.

       The Final Rule reflects the implementation of the FTC’s capacious 2022 policy statement

on unfair methods of competition. Federal Trade Commission, Commission File No. P221202,

Policy Statement Regarding the Scope of Unfair Methods of Competition Under Section 5 of the

Federal Trade Commission Act (2022) (“2022 FTC Policy Statement”). According to the FTC,


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competition is unfair when it “goes beyond competition on the merits,” including when it is

“restrictive or exclusionary” and “tends to negatively affect competitive conditions.” Id. at 9. In

reliance on the 2022 FTC Policy Statement, the Final Rule found non-compete agreements to be

per se “unfair” because the FTC determined that they are “restrictive,” “exclusionary,”

“exploitative,” and “coercive conduct” “that tend[] to negatively affect competitive conditions in

labor” and “product and service markets.” 89 Fed. Reg. at 38,372.

       This is effectively “[a] test based solely upon restraint of competition” and as such “is so

vague as to permit arbitrary or undue government interference with the reasonable freedom of

action that has marked our country’s competitive system.” E.I. du Pont de Nemours, 729 F.2d at

137. To prevent this “abuse of power,” courts must adopt “appropriate standards” for unfairness.

Id. And here where the FTC “seeks to break new ground by enjoining otherwise legitimate

practices,” the Court must closely “scrutin[ize]” the FTC’s decision. Id.

       In the Third Circuit, “covenants not to compete should be examined under the rule of

reason” when reviewed under federal antitrust statutes. Eichorn v. AT & T Corp., 248 F.3d 131,

144 (3d Cir. 2001), as amended (June 12, 2001). The rule of reason requires an individualized

review of the “totality of the circumstances surrounding an alleged anti-competitive activity,

including facts peculiar to the relevant business.” Id. at 144–45 (emphasis added). Even though

the FTC Act applies beyond the federal antitrust statutes to “incipient” antitrust violations, some

weighing analysis like the rule of reason must be employed to determine the fairness of non-

compete agreements in particular circumstances. See E.I. du Pont de Nemours & Co., 729 F.2d at

136–37, 140; Luria Bros. & Co. v. FTC, 389 F.2d 847, 860 (3d Cir. 1968) (using “cases decided

under [Sherman] Act for guidance”). This is the sort of analysis that many states have effectively

implemented in adopting reasonable limitations on non-compete agreements. For example, in



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Pennsylvania, non-compete agreements must be “‘supported by adequate consideration,’”

“‘reasonably limited in duration and geographic extent,’” and “‘designed to protect legitimate

interests of the employer.’” Pittsburgh Logistics Sys., Inc. v. Beemac Trucking, LLC, 249 A.3d 918,

932 (Pa. 2021). A rule of reason style analysis is also consistent with the exclusively adjudicative

authority the FTC has over unfair methods of competition. See supra Part I.A. This approach

ensures that the FTC does not arbitrarily “interfere[] with the reasonable freedom of action.” E.I.

du Pont de Nemours, 729 F.2d at 137.

       Additionally, the permissibility and regulation of non-compete agreements in 46 states is

itself evidence that non-compete agreements cannot be classified as categorically “unfair.” The

FTC asserts the authority to preempt state law and effectively claims that state determinations of

fairness are irrelevant. See 89 Fed. Reg. at 38,504–05. But centuries of state-level development of

reasonable parameters for non-compete agreements should not be so easily swept away. Moreover,

because the FTC does not have substantive rulemaking authority for “unfair methods of

competition,” Congress cannot have categorically preempted all non-compete agreements. See Am.

Fin. Servs. Ass’n v. FTC, 767 F.2d 957, 989–90 (D.C. Cir. 1985). Even where the FTC does have

substantive rulemaking—for “unfair or deceptive acts or practices”—it was not intended to

“occupy the field” such that all state laws are preempted. Id. at 990. So, the FTC cannot override

all the fairness determinations of state legislatures and judges at will.

           2. The Final Rule Displaces a Traditional Area of State Regulation Without
              Clear Authorization from Congress

       The FTC Act also does not contain a clear statement that the FTC is empowered to ban an

employment term that is traditionally regulated by state law. See Gregory v. Ashcroft, 501 U.S.

452, 460–61 (1991). Non-compete agreements fall squarely within the traditional field of state

regulation. The Final Rule displaces the statutory and common law of 46 states that currently


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permit reasonable non-compete agreements. 89 Fed. Reg. at 38,465. State common law has long

distinguished between appropriate and unduly restrictive non-compete agreements in the United

States. E.g., Pierce v. Fuller, 8 Mass. 223 (1811). But nothing in the FTC Act speaks to whether

Congress intended to authorize the wholesale preemption of state laws governing non-compete

agreements. Cf. Parker v. Brown, 317 U.S. 341, 351–52 (1943) (rejecting a contention that federal

antitrust law should be construed as preempting anti-competitive state laws).

       Congress is presumed not to “alter” state law unless Congress does so in “unmistakably

clear” terms. Gregory, 501 U.S. at 460–61 (quotation marks omitted). Congress must use

“exceedingly clear language ... to significantly alter the balance between federal and state power.”

See U.S. Forest Service v. Cowpasture River Pres. Ass’n, 590 U.S. 604, 621–22 (2020); see also

Solid Waste Agency of N. Cook Cnty. v. U.S. Army Corps of Eng’rs, 531 U.S. 159, 174 (2001). The

FTC Act’s declaration of “unfair methods of competition” as “unlawful” and establishment of an

adjudicative process to prevent them does not provide the requisite clear statement that would

permit the FTC to eliminate the laws of 46 states. See Gregory, 501 U.S. at 470.

           3. The Final Rule Bans an Employment Practice of Economic and Political
              Significance Without Clear Authorization from Congress

       Banning non-compete agreements nationally is also “[a] decision of such magnitude and

consequence” that the FTC requires a “clear delegation” of authority from Congress. West Virginia

v. EPA, 597 U.S. 697, 735 (2022). The Final Rule changes the employment relationships of “one

in five American workers” and is expected by the FTC to have hundreds of billions of dollars in

financial consequences for employers and workers. 89 Fed. Reg. at 38,343, 38,470–71. But there

is no “clear delegation” of authority by Congress to the FTC to promulgate such a consequential

rule. See West Virginia, 597 U.S. at 735.




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       The Final Rule is of similar “‘economic and political significance’” to recent applications

of the major questions doctrine. Id. at 721. West Virginia applied the major questions doctrine to

an EPA plan to shift power generation away from fossil fuels that “would [have] entail[ed] billions

of dollars in compliance costs,” “require[d] the retirement of dozens of coal-fired power plants,

and eliminate[d] tens of thousands of jobs.” Id. at 714. Biden v. Nebraska, 143 S. Ct. 2355, 2372

(2023), applied the major questions doctrine to a plan “to release 43 million borrowers from their

obligations to repay $430 billion in student loans.” And the doctrine was similarly applied to a

federal eviction moratorium estimated to have an “economic impact” of approximately $50 billion.

Ala. Ass’n of Realtors v. Dep’t of Health & Hum. Servs., 594 U.S. 758, 764 (2021). Here, the FTC

estimates the Final Rule affects approximately 30 million people. 89 Fed. Reg. at 38,343. Its cost-

benefit analysis anticipates a $400–488 billion effect on earnings, a shift of tens-of-billions of

dollars in “investment in human capital,” and billions of dollars of pricing changes. Id. at 38,470–

71. This “exercise [of] control over ‘a significant portion of the American economy’” is sufficient

to trigger application of the major questions doctrine. Nebraska, 143 S. Ct. at 2372.

       The Final Rule also unilaterally ends “‘earnest and profound debate’ across the country”

about the scope and necessity of non-compete agreements making section 45’s “oblique”

delegation of authority “all the more suspect.” Gonzales v. Oregon, 546 U.S. 243, 267 (2006). For

example, lawmakers in Pennsylvania are considering legislation that would prohibit noncompete

agreements in the medical field. Sarah Boden, A bill in the Pa. legislature could end non-compete

agreements for most doctors, 90.5 WESA (Apr. 26, 2024), https://tinyurl.com/bdfrpedx. And

legislation is pending in Congress to restrict the use of non-compete agreements with low wage

workers, Freedom to Compete Act of 2023, S. 379, 118th Cong. (2023), and to largely ban them,

Workforce Mobility Act of 2023, S. 220, 118th Cong. (2023). Congress could not have intended



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to allow the FTC to ban an employment term subject to such serious political debate in as “cryptic

a fashion” as the FTC Act. Brown & Williamson, 529 U.S. at 160.

       Beyond its economic and political impact, the Final Rule represents a “‘transformative

expansion’” of the FTC’s “‘regulatory authority’” based on “‘a long-extant statute’” enacted in

1914. West Virginia, 597 U.S. at 724. Such a claim of authority should be treated with “skepticism.”

Utility Air Regulatory Grp. v. EPA, 573 U.S. 302, 324 (2014). The FTC points to a brief period of

unauthorized competition rulemakings from the 1960s and 70s as evidence the Final Rule is part

of the FTC’s normal business. 89 Fed. Reg. at 38,349–50. But these rulemakings were generally

about advertising and labeling, id., something which today is covered by unfair or deceptive acts

or practices rulemakings, see Merrill, supra at 305; 15 U.S.C. § 45(n) (requiring FTC to find unfair

or deceptive acts or practices “cause[] or [are] likely to cause substantial injury to consumers which

is not reasonably avoidable by consumers themselves”). And they cover mundane topics like

misrepresentations of sleeping bag and tablecloth sizes or extension ladder lengths. 89 Fed. Reg.

at 38,349–50. It is further notable that the FTC does not identify other competition rulemakings

after 1978, creating a nearly five-decade gap since the FTC has implemented such a rulemaking.

Id. at 38,349–51. That lengthy silence speaks volumes.

       Additionally, employment relationships are not the traditional regulatory sphere of the

FTC, an antitrust agency. See E.I. du Pont de Nemours & Co, 729 F.2d at 136. If Congress were to

entrust any agency with non-compete regulation, the Department of Labor would be the most

logical choice. This also militates in favor of applying the major questions doctrine because

“[t]here is little reason to think Congress assigned” decisions about the validity of employment

contracts to the FTC. West Virginia, 597 U.S. at 729.




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            4. Interpreting the FTC Act Not To Authorize the Final Rule Avoids a Serious
               Constitutional Question

        The FTC Act also should not be interpreted to “‘raise [a] serious constitutional problem’”

regarding the delegation of legislative authority to the FTC. Solid Waste Agency, 531 U.S. at 173.

The FTC’s open-ended view of its authority under section 45 to ban non-compete agreements

nationally provides the FTC with no intelligible principle by which to make rules See infra Part I.C.

Because of this “serious [constitutional] doubt,” an interpretation of the FTC Act that does not

extend to include the Final Rule should be adopted. Crowell v. Benson, 285 U.S. 22, 62 (1932).

        C. The FTC Act Unconstitutionally Delegates Legislative Power to the FTC

        If the Court holds that Congress empowered the FTC with the ability to make substantive

rules and delegated to it the ability to ban non-competes, section 45 unconstitutionally delegates

legislative power to the FTC. The Constitution provides that “[a]ll legislative Powers herein

granted shall be vested in a Congress of the United States ....” U.S. Const. art. I, § 1. As a result of

this vesting clause, Congress may not “delegate ... powers which are strictly and exclusively

legislative.” Wayman v. Southard, 23 U.S. (10 Wheat.) 1, 42 (1825). Administrative agencies may

only “fill up the details” on “subjects” “of less interest.” Id. at 20. To avoid an unconstitutional

delegation, Congress must provide executive branch agencies with an “‘intelligible principle’” by

which to regulate. Whitman, 531 U.S. at 472.

        The Supreme Court has already decided that a delegation of rulemaking authority over

economic competition with fairness as the only standard is an unconstitutional delegation of

legislative power. Schechter Poultry, 295 U.S. at 530, 541–42. In Schechter Poultry, defendants

were criminally charged with violating the Live Poultry Code, promulgated under section 3 of

NIRA, which “authorize[d] the President to approve ‘codes of fair competition.’” 295 U.S. at 508,

521-22. “[F]air competition” was undefined in the NIRA, which was otherwise devoid of any


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meaningful standard or limitation on the President’s authority. Id. at 531, 541. Schechter Poultry

took a similarly dim view of the phrase “unfair methods of competition” in the FTC Act, explaining

“that it does not admit of precise definition.” Id. at 532. But critically, the Court found that the

term would not be defined through substantive rulemaking as in the NIRA, but “determined in

particular instances, upon evidence, in the light of particular competitive conditions and of what

is found to be a specific and substantial public interest.” Id. at 533. This finding was key to the

Court’s rejection of the NIRA as a non-delegation violation. See id. at 533–34.

       Here, the Final Rule erases the FTC’s distinctive role as an adjudicative body by creating

the FTC’s own code of fair competition in the labor market, and claiming the authority to do the

same for any other purported unfair method of competition. In fact, this very scenario was

contemplated in Schecter Poultry because the NIRA provided that violations of the codes of fair

competition “[were] to be deemed ‘an unfair method of competition’ within the meaning of the

[FTC] Act.” Id. at 534. So, the Final Rule functions in a nearly identical way as the unconstitutional

fair competition codes in Schecter Poultry.

       Even on its own, the phrase “unfair methods of competition” fails to establish an

“‘intelligible principle.’” Whitman, 531 U.S. at 472. Congress is expected to “provide substantial

guidance” on regulations like the Final Rule “that affect the entire national economy.” Id. at 475.

Here, “unfair” is not enough. See Schecter Poultry, 295 U.S. at 532–33. Its insufficiency is evident

from the FTC’s own policy statement on the phrase, which sweeps in any conduct that is

“restrictive or exclusionary” and “tend[s] to negatively affect competitive conditions.” 2022 FTC

Policy Statement at 9; 89 Fed. Reg. at 38,358, 38,374–75. Such vague language is effectively the

FTC’s blank check to itself to regulate any conduct of which it disapproves. Its standardless nature

is underscored by comparing it to the guidance Congress provided regarding unfair or deceptive



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acts or practices: The FTC can act only when “the act or practice causes or is likely to cause

substantial injury to consumers which is not reasonably avoidable by consumers themselves and

not outweighed by countervailing benefits to consumers or to competition.” 15 U.S.C § 45(n).

 II.   ATS Is Irreparably Harmed By the Final Rule

       ATS is irreparably harmed in two significant ways: (1) it must undertake nonrecoverable

efforts to comply with the Final Rule and conform its business to an environment with no non-

compete agreements now, and (2) it will lose the contractual benefits from its existing non-compete

agreements once the Final Rule goes into effect. First, ATS must incur “the nonrecoverable costs

of complying with a putatively invalid regulation” and must do so before the Final Rule goes into

effect. Rest. Law Ctr. v. U.S. Dep’t of Labor, 66 F.4th 593, 597 (5th Cir. 2023) (citation omitted).

The Final Rule requires ATS to give notice by its effective date that ATS will no longer enforce its

existing non-compete agreements. 89 Fed. Reg. at 38,503–04. The FTC recognizes in the Final

Rule that employers, including ATS, will incur costs to comply with the notice requirement. Id. at

38,483–84; Servin Decl. ¶ 28. Moreover, ATS will have to undertake efforts to review its

employment agreements, structure, and training practices and make modifications to its business

to account for the inability to prevent its employees from immediately leaving for a direct

competitor. Servin Decl. ¶ 28; see also 89 Fed. Reg. at 38,481–83. For example, ATS will be forced

to change its operational model and reduce the training that it provides its workers because of the

infeasibility of providing such a benefit that could be immediately available to any of its

competitors. Servin Decl. ¶¶ 26–28. And, “[t]he loss of an employee and the associated costs ...

are nonrecoverable costs” for ATS, the risk of which significantly increases as a result of the Final

Rule. Louisiana v. Biden, 55 F.4th 1017, 1034 (5th Cir. 2022); Servin Decl. ¶ 25. Indeed, that is

the point of the Final Rule. See 89 Fed. Reg. at 38,380 (“[A] key component of a competitive labor

market is voluntary labor mobility.”). These compliance costs are not recoverable by ATS, and
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constitute an irreparable injury. Texas v. EPA, 829 F.3d 405, 433 (5th Cir. 2016); see also 5 U.S.C.

§ 702 (allowing only relief “other than money damages”).

       Second, if this case continues beyond the effective date of the Final Rule, ATS will be

further irreparably injured through a “depriv[ation of] its contractual rights,” in particular losing a

“meaningful benefit [it] negotiated for” in its employment agreements. SEIU Health Care Mich.

v. Snyder, 875 F. Supp. 2d 710, 725 (E.D. Mich. 2012). The Court has already recognized that the

loss of an employee subject to a non-compete agreement to a direct competitor constitutes

irreparable injury. Syzygy Integration LLC v. Harris, 616 F. Supp. 3d 439, 450 (E.D. Pa. 2022). So,

to eliminate the contractual term that prevents that from happening in the first place is, itself, an

irreparable injury as well. See id.

III.   A Preliminary Injunction Is in the Public Interest

       The final two factors—balance of the equities and the public interest—merge when the

government is the opposing party. See Nken, 556 U.S. at 435. “There is generally no public interest

in the perpetuation of unlawful agency action.” League of Women Voters of U.S. v. Newby, 838

F.3d 1, 12 (D.C. Cir. 2016). “[O]ur system does not permit agencies to act unlawfully even in

pursuit of desirable ends.” Ala. Ass’n of Realtors, 594 U.S. at 766. And here, any harm to the

government from a several month delay in the implementation of the Final Rule will be minimal

given that the FTC was willing to take over a year to finalize its proposed rule after waiting since

1914 to propose such a ban. See 89 Fed. Reg. at 38,342. Moreover, “if a plaintiff demonstrates

both a likelihood of success on the merits and irreparable injury,” as is the case here, “it almost

always will be the case that the public interest will favor the plaintiff.” Am. Tel. & Tel. Co. v.

Winback & Conserve Program, Inc., 42 F.3d 1421, 1427 n.8 (3d Cir. 1994)




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IV.    Bond Is Not Necessary

       A bond is not necessary in this case to issue a preliminary injunction because an injunction

is in the public interest and there is no harm to Defendants. See supra Part III. The Third Circuit

recognizes an exception to the bond requirement in Federal Rule of Civil Procedure 65(c) in cases

“to enforce important federal rights or public interests.” Temple Univ. v. White, 941 F.2d 201, 220

(3d Cir. 1991) (quotation marks omitted). Here, ATS seeks to vindicate its statutory right under

the Administrative Procedure Act not to be subjected to unlawful regulations, 5 U.S.C. § 702, and

the structural constitutional principal of non-delegation, which also protects individuals and

businesses, see Stern v. Marshall, 564 U.S. 462, 483 (2011). There is no harm to Defendants

because they have no interest in enforcing an unlawful regulation and a stay and preliminary

injunction will only delay their implementation of the Final Rule while this case is decided. See

League of Women Voters, 838 F.3d at 12; supra Part III. Under these circumstances, the Court may

waive Rule 65(c)’s bond requirement. See Gilliam v. USDA, 486 F. Supp. 3d 856, 882 (E.D. Pa.

2020) (excusing bond where no “true harm” alleged from injunction compelling USDA to comply

with provision of SNAP); Marshall v. Amuso, 571 F. Supp. 3d 412, 430 (E.D. Pa. 2021) (no bond

for preliminary injunction of school board policies restricting speech).

                                         CONCLUSION

       For the foregoing reasons, ATS respectfully requests that this Court stay the effective date

of the Final Rule and enter a preliminary injunction pending a ruling on the merits.




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DATED: May 14, 2024.

                                   Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 14, 2024, I electronically filed the foregoing with the Clerk of

the United States District Court for the Eastern District of Pennsylvania using the CM/ECF system,

which sent notifications of such filing to all registered CM/ECF users. I also certify that courtesy

copies of foregoing will be served via certified mail to the following:

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DATED: May 14, 2024.

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